Case 1:11-cv-01199-SLR-MPT Document 20 Filed 04/19/12 Page 1 of 2 PageID #: 65



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


JEFFREY PACILLI, SAIMA MIAN,
AMANDEEP SINGH, and MARILYN
ROBLEDO, individually and on behalf of all
others similarly situated,

                      Plaintiffs,
                                                     C.A. No. 11-cv-1199-SLR-MPT
               v.

CARRIER IQ, INC., HTC AMERICA, INC.,
HTC CORPORATION, APPLE, INC.,
SAMSUNG ELECTRONICS AMERICA,
INC., SAMSUNG TELECOMMUNICATIONS
AMERICA, LLC, and MOTOROLA
MOBILITY, INC.,

                      Defendants.

             STIPULATION AND ORDER FOR DISMISSAL OF ACTION
             WITHOUT PREJUDICE AGAINST DEFENDANT APPLE INC.

       IT IS HEREBY STIPULATED AND AGREED by the undersigned counsel for Plaintiffs

Jeffrey Pacilli, Saima Mian, Amandeep Singh, and Marilyn Robledo (“Plaintiffs”) and Defendant

Apple Inc. (“Apple”) that the above-captioned action (together with all claims asserted therein,

“the Action”) is hereby dismissed against Apple without prejudice pursuant to Fed. R. Civ. P.

41(a)(1), each side to bear its own costs, expenses, and attorneys’ fees. This Stipulation and

Order shall have no precedential value and shall not be admitted in any other action or

proceeding as evidence regarding the merit (or lack of merit) of Plaintiffs’ claims against Apple.
Case 1:11-cv-01199-SLR-MPT Document 20 Filed 04/19/12 Page 2 of 2 PageID #: 66




SIANNI & STRAITE LLP                          POTTER ANDERSON CORROON LLP

/s/ David A. Straite                          /s/ Richard L. Horwitz
David A. Straite (#5428)                      Richard L. Horwitz (#2246)
E-Mail: dstraite@siannistraite.com            E-Mail: rhorwitz@potteranderson.com
1201 N. Orange St. Suite 740                  1313 N. Market Street, 6th Floor
Wilmington, DE 19801                          Wilmington, DE 19899-0951
(302) 573-3560                                (302) 984-6000

Attorneys for Plaintiffs                      Attorneys for Defendant Apple Inc.


                                              OF COUNSEL:

                                              GIBSON, DUNN & CRUTCHER LLP

                                              Gail Lees
                                              E-Mail: glees@gibsondunn.com
                                              333 South Grand Avenue
                                              Los Angeles, CA 90071-3197
                                              (213)229-7000

                                              S. Ashlie Beringer
                                              E-Mail: aberinger@gibsondunn.com
                                              1881 Page Mill Road
                                              Palo Alto, CA 94304-1211
                                              (650)849-5300




Dated: April 19, 2012



IT IS SO ORDERED on this ____ day of ____________, 2012.



                                                ____________________________________
                                                UNITED STATES DISTRICT JUDGE



1056074/38693




                                          2
